            Case 1:17-cr-00137-AWI-SKO Document 72 Filed 12/18/18 Page 1 of 3


 1 McGREGOR W. SCOTT
   United States Attorney
 2 ANGELA L. SCOTT
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:17-CR-00137-LJO-SKO
12                                Plaintiff,            STIPULATION REGARDING MODIFIED
                                                        BRIEFING SCHEDULE; ORDER
13                          v.
14   GREVIN MARIO MORALES, SR.,
15                               Defendant.
16

17
                                                STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and defendant Grevin
19
     Mario Morales, Sr., by and through defendant’s counsel of record, Marc Days, hereby stipulate as
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     follows:
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            1.     Trial in this matter has been set for February 26, 2019, and time had previously been
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     excluded to that date pursuant to the Speedy Trial Act, 18 U.S.C.§ 3161(h)(7)(A), B(iv).
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            2.     On October 11, 2018, the Court issued an order continuing the trial to February 26, 2019,
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     and setting the following briefing schedule for the defendant’s motion to suppress evidence:
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                   a)      Defendant’s Motion to Suppress Due: November 14, 2018
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                   b)      Government’s Opposition Due: January 2, 2019
27
                   c)      Defendant’s Reply Due: January 28, 2019
28
                   d)      Motion to Suppress Hearing: February 11, 2019, at 9:30 a.m.

      STIPULATION REGARDING EXCLUDABLE TIME             1
      PERIODS UNDER SPEEDY TRIAL ACT
           Case 1:17-cr-00137-AWI-SKO Document 72 Filed 12/18/18 Page 2 of 3


 1          3.     On November 14, 2018, defendant filed a motion to suppress evidence.

 2          4.     The parties have been diligent in their efforts to resolve this case. The parties believe that

 3 they may reach an agreement to settle the case before the new year. The parties seek to continue the

 4 January 2 deadline for the government’s opposition to the motion to suppress to give the parties

 5 additional time to file a plea agreement and conduct a change-of-plea hearing if they reach a resolution.

 6          5.     Consequently, regarding the above-referenced opposition to the motion to suppress, the

 7 parties request that the Court continue the January 2, 2019 deadline to January 16, 2019. All other dates,

 8 including the trial date, will remain the same. The modified schedule would be:

 9                 a)      Government’s Opposition Due: January 16, 2019

10                 b)      Defendant’s Reply Due: January 28, 2019 (same)

11                 c)      Motion to Suppress Hearing: February 11, 2019, at 9:30 a.m. (same)

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13 IT IS SO STIPULATED.

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15
     Dated: December 18, 2018                                McGREGOR W. SCOTT
16                                                           United States Attorney
17
                                                             /s/ ANGELA L. SCOTT
18                                                           ANGELA L. SCOTT
                                                             Assistant United States Attorney
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21 .Dated: December 18, 2018                             /s/ per telephonic authorization
22                                                        MARC DAYS
                                                          Counsel for Defendant
23                                                        GREVIN MARIO MORALES, SR.
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      STIPULATION REGARDING EXCLUDABLE TIME              2
      PERIODS UNDER SPEEDY TRIAL ACT
           Case 1:17-cr-00137-AWI-SKO Document 72 Filed 12/18/18 Page 3 of 3


 1                                        FINDINGS AND ORDER

 2         Pursuant to the parties’ stipulation and good cause shown, IT IS HEREBY ORDERED that the

 3 deadline for the government’s opposition to defendant’s motion to suppress currently set for January 2,

 4 2019, is hereby continued to January 16, 2019. All other dates remain the same.

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     IT IS SO ORDERED.
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 8      Dated:    December 18, 2018                        /s/ Lawrence J. O’Neill _____
                                                UNITED STATES CHIEF DISTRICT JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME            3
      PERIODS UNDER SPEEDY TRIAL ACT
